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Roadway and Ballast


1.2.4 DRAINAGE (2013) R(2016)

1.2.4.1 General

  a. This section deals with the surface and subsurface drainage of the roadway as distinguished from
     drainage of the ground surface by natural waterways. The latter subject is dealt with in Part 3 Natural
     Waterways, and Part 4 Culverts.

  b. Since water is the principal influence on soil stability in roadbed, subgrade and slopes, control of surface
     and subsurface water is the most important factor in roadway design and maintenance.

1.2.4.2 Surface Drainage

  a. Surface water from the roadway area, and sometimes surrounding topography, is usually handled by a
     system of ditches (commonly referred to as track or railroad ditches) parallel to the roadbed with offtake
     ditches where necessary. The roadbed cross section, slopes of cuts and fills, ditches, catch basins,
     underdrains and culverts should all form a balanced system to dispose of the water without
     accumulation or excessive saturation which would produce damaging effects. Track ditch design should
     generally be limited to handling non-concentrated natural drainage.

  b. The design capacity of any part of the system can be calculated if the quantity of water to be carried, the
     distance and grade to outfall, and the infiltration factor of the soil are known. Ditches should be deep
     enough and sized for handling the design runoff anticipated while allowing the subgrade to drain. Track
     ditches should be sized for the anticipated runoff and the flow velocity calculated using the Manning
     equation.

  c.     The ditch grade may be governed by the track grade, particularly in long cuts or offtake drainage points.
         However, more often than not, ditch grades will be governed by existing drainage patterns and points of
         discharge. When the ditch is constructed in earth materials, the minimum recommended grade should
         not be less than 0.25% to minimize sedimentation. However, exceptions to this may be dictated by local
         topography such as in low-lying or flat terrain. Likewise, to prevent erosion, the maximum unlined ditch
         grade and/or ditch configuration should be such that it will produce a velocity less than or equal to the
         limiting velocity shown in Table 1-1-11. Erosion may also be prevented or reduced by paving, riprapping,
         sodding, or constructing check dams depending on velocity, type of soil, and depth of flow (Refer to Part 3
         Natural Waterways). Liners for ditches are typically classified as either rigid or flexible. Asphaltic
         concrete and Portland cement concrete liners are examples of rigid liners. Riprap, sod, and grass liners
         are examples of flexible linings. Rigid liners are better at limiting erosion and they often result in higher
         water velocities since they are smoother than flexible liners.

                        Table 1-1-11. Guidelines for Limiting Velocities to Prevent Erosion

                                                                                                    Velocity
                                                    Material
                                                                                                  (Ft per Sec)
                            Sand                                                                      Up to 2
                            Loam                                                                         2-3
                            Grass                                                                        2-3
                            Clay                                                                         3-5
                            Clay and gravel                                                              4-5
                            Good sod, coarse gravel, cobbles, soft shale                                 4-6
                                                                                                                             1
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